        Case 1:19-cv-00958-TWP-DLP Document 3 Filed 03/07/19 Page 1 of 1 PageID #: 39
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                Southern District
                                                 __________       of Indiana
                                                              District of __________


                     William Barnhouse                            )
                             Plaintiff                            )
                                v.                                )      Case No.
                                                                  )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff, William Barnhouse                                                                                         .


Date:          03/07/2019                                                                s/ Heather Lewis Donnell
                                                                                             Attorney’s signature


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